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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 STATE OF TEXAS,                                §
                                                §
      Plaintiff,                                §
                                                §
 v.                                             §    Civil Action No. 4:21-cv-00579-P
                                                §
 JOSEPH R. BIDEN, JR., in his                   §
 official capacity as President of the          §
 United States et al.,                          §
                                                §
      Defendants.                               §

                                             ORDER

        Before the Court is twenty-nine legal service and advocacy organizations’

(“Organizations”) 1 Unopposed Motion for Leave to File Amicus Brief in Opposition to the

Motion for Preliminary Injunction. ECF No. 82. Having considered the Motion, the Court

finds that it should be and hereby is GRANTED.

        Therefore, the Clerk of the Court is INSTRUCTED to file the Organizations’

Amicus Curiae Brief, attached to the Unopposed Motion as Exhibit A (ECF No. 82-1), as

a separate docket entry.


        1
        The Organizations are Al Otro Lado; American Immigration Council; Asylum Access;
Asylum Access México A.C.; Catholic Legal Immigration Network, Inc.; Center for Civic Policy;
Center for Gender and Refugee Studies; Comunidad Maya Pixan Ixim; Disciples Immigration
Legal Counsel; First Focus on Children; Florence Immigrant and Refugee Rights Project; FWD.us;
Immigrant Defenders Law Center; Innovation Law Lab; International Mayan League; Justice
Action Center; Justice for Our Neighbors El Paso; Kids in Need of Defense; Kino Border Initiative;
La Raza Centro Legal SF; La Raza Community Resource Center; Migrant Center for Human
Rights; National Immigration Law Center; National Immigration Project; Project Corazon,
Lawyers for Good Government; the Refugee and Immigrant Center for Education and Legal
Services; Refugees International; Student Clinic for Immigrant Justice, Inc.; and Taylor Levy Law.
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   SO ORDERED on this 27th day of September, 2021.




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